                Case 18-17840-EPK           Doc 70   Filed 08/29/18   Page 1 of 23



                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION
In re:

RIO MALL, LLC, et al.,                                        Lead Case No. 18-17840-EPK

         Debtors.                                             Chapter 11
                                                              Jointly Administered
________________________________________/

FRANK THEATRES MANAGEMENT, LLC,

         Plaintiff,

vs.                                                           Adv. Proc. No.

LAS OLAS RIVERFRONT, LP,

      Defendant.
________________________________________/

                      COMPLAINT TO AVOID PREFERENTIAL TRANSFERS

         Frank Theatres Management, LLC ("Plaintiff"), pursuant to 11 U.S.C. § 547, sues Las

Olas Riverfront, LP ("Defendant") to avoid preferential transfers and states:

                                  JURISDICTION AND VENUE

         1.      On August 17, 2018 (the "Petition Date"), Plaintiff filed a voluntary petition for

relief under chapter 11 of the United States Bankruptcy Code, 11 U.S.C. § 101 et seq., Case No.

18-20022-EPK.

         2.      Plaintiff's bankruptcy case has been jointly administered with the bankruptcy case

of Rio Mall, LLC, Case No. 18-17840-EPK.

         3.      Plaintiff is a chapter 11 debtor in possession and has the rights and powers of a

trustee as set forth in 11 U.S.C. § 1107.

         4.      Plaintiff is a Delaware limited liability company.



{2244/000/00413953}
               Case 18-17840-EPK         Doc 70     Filed 08/29/18    Page 2 of 23



        5.      Defendant is a Delaware limited partnership and creditor of Plaintiff.

        6.      This is an adversary proceeding filed pursuant to 11 U.S.C. § 547 and Federal

Rules of Bankruptcy Procedure 7001(1) and (2).

        7.      The Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1334(b). The is

a core proceeding under 28 U.S.C. § 157(b)(2)(F).

        8.      Venue is proper pursuant to 28 U.S.C. § 1409 because the bankruptcy case of

Plaintiff is pending in this district.

                                         BACKGROUND

        9.      On November 6, 2013 Defendant filed a complaint against Plaintiff in the Circuit

Court of the Seventeenth Judicial Circuit in and for Broward County, Florida (the "State Court"),

Case No. 13-25993 (the "Florida Case"), for an alleged breach of a lease agreement.

        10.     On or about May 30, 2018 the State Court entered a final judgment in favor of

Defendant and against Plaintiff and a third party, Frank Entertainment Companies, LLC, jointly

and severally, in the amount of $55,000.00 (the "Judgment").

        11.     A copy of the Judgment is attached as EXHIBIT "A".

        12.      The Judgment is unsatisfied.

        13.     On or about June 14, 2018 Defendant caused a writ of garnishment (the "First

Writ") to be issued to Bank of America, N.A. ("BOA").

        14.     Defendant served the First Writ on BOA on or about June 14, 2018.

        15.     On or about August 3, 2018 Defendant caused a second writ of garnishment to be

issued to BOA (the "Second Writ").

        16.     Defendant served the Second Writ on BOA on or about August 3, 2018.




{2244/000/00413953}
              Case 18-17840-EPK          Doc 70     Filed 08/29/18     Page 3 of 23



        17.    Copies of the First Writ and Second Writ (the "Writs") are attached as EXHIBIT

"B".

        18.    In response to the Writs, BOA states that it is holding a total of $176,316.67 in

accounts ending in 7698, 5130 and 5896 that are titled in the name of Plaintiff (the "Accounts").

        19.    Copies of answers to the Writs filed by BOA in the Florida Case are attached as

EXHIBIT "C".

        20.    Plaintiff is a common paymaster and management company that does not

independently own assets. Rather, monies in the Accounts were earned and deposited by non-

party entities for accounting purposes (the "Entities").

        21.    The Entities consist of FEC Towne, LLC, All Star Development of Conway,

LLC, Frank Theatres Teays Valley, LLC, Frank Theatres Gettysburg, LLC, Frank Theatres

Tilton, LLC and Revolutions at Penn Treaty, LLC. Each of the Entities owns and operates

movie theaters or other entertainment complexes.

        22.    Plaintiff uses monies in the Accounts to pay routine business expenses of the

Entities.

        23.    Plaintiffs lacks a beneficial or equitable interest in funds in the Accounts.

        24.    Creditors of Plaintiff would receive little or no distribution in a liquidation under

chapter 7 of the Bankruptcy Code.

        25.    To the extent Defendant has filed a proof of claim or has a claim listed on the

Plaintiff's schedules, as may have been amended during the Plaintiff's bankruptcy case, as

undisputed, liquidated, and not contingent, or has otherwise requested payment from Plaintiff,

this Complaint is not intended to be, nor should it be construed as, a waiver of Plaintiff's right to




{2244/000/00413953}
               Case 18-17840-EPK          Doc 70        Filed 08/29/18   Page 4 of 23



object to such claim(s) for any reason including, but not limited to, 11 U.S.C. § 502(a) through

(j), and such rights are expressly reserved.

                                         COUNT I
                          AVOIDANCE OF PREFERENTIAL TRANSFER
                               REGARDING THE FIRST WRIT
                                     11 U.S.C. § 547(b)

        26.     Plaintiff incorporates and re-alleges the allegations in paragraphs 1–25 above as if

fully set forth herein.

        27.     Upon service of the First Writ on BOA, Defendant obtained a lien or other

interest in the Accounts, and interests of Plaintiff in property were thus transferred to Defendant

(the "First Writ Transfers").

        28.     Defendant is a creditor of Plaintiff.

        29.     Defendant acquired such interests on account of the debt represented by the

Judgment.

        30.     Defendant acquired such interests while Plaintiff was insolvent.

        31.     Defendant acquired such interests within 90 days of the Petition Date.

        32.     As a result of acquiring such interests Defendant will satisfy the Judgment and

therefore receive more than it would have received: (a) in a distribution under chapter 7 of the

Bankruptcy Code, (b) if the transfer had not been made, and (c) Defendant received payment of

the Judgment to the extent provided by the provisions of the Bankruptcy Code.

        33.     In accordance with the foregoing, the First Writ Transfers are avoidable pursuant

to 11 U.S.C. § 547(b).

                                        COUNT II
                          AVOIDANCE OF PREFERENTIAL TRANSFER
                              REGARDING THE SECOND WRIT
                                     11 U.S.C. § 547(b)




{2244/000/00413953}
               Case 18-17840-EPK          Doc 70        Filed 08/29/18   Page 5 of 23



        34.     Plaintiff incorporates and re-alleges the allegations in paragraphs 1–25 above as if

fully set forth herein.

        35.     Upon service of the Second Writ on BOA, Defendant obtained a lien or other

interest in the Accounts, and interests of Plaintiff in property were thus transferred to Defendant

(the "Second Writ Transfers").

        36.     Defendant is a creditor of Plaintiff.

        37.     Defendant acquired such interests on account of the debt represented by the

Judgment.

        38.     Defendant acquired such interests while Plaintiff was insolvent.

        39.     Defendant acquired such interests within 90 days of the Petition Date.

        40.     As a result of acquiring such interests Defendant will satisfy the Judgment and

therefore receive more than it would have received: (a) in a distribution under chapter 7 of the

Bankruptcy Code, (b) if the transfers had not been made, and (c) Defendant received payment of

the Judgment to the extent provided by the provisions of the Bankruptcy Code.

        41.     In accordance with the foregoing, the Second Writ Transfers are avoidable

pursuant to 11 U.S.C. § 547(b).




                           [Remainder of Page Intentionally Left Blank]




{2244/000/00413953}
              Case 18-17840-EPK         Doc 70     Filed 08/29/18   Page 6 of 23



                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff requests that this Court: (a) enter a judgment against the

Defendant as to Counts I and II of the Complaint; (b) avoid the First Writ Transfers and Second

Writ pursuant to 11 U.S.C. § 547; and (c) grant such other and further relief as the Court deems

just and proper.

Dated August 29, 2018

                                              Respectfully Submitted,

                                              SHRAIBERG, LANDAU & PAGE, P.A.
                                              Attorneys for Plaintiff
                                              2385 NW Executive Center Drive, #300
                                              Boca Raton, Florida 33431
                                              Telephone: 561-443-0800
                                              Facsimile: 561-998-0047
                                              pdorsey@slp.law

                                             By: /s/ Patrick Dorsey___________
                                                   Patrick Dorsey
                                                   Florida Bar No. 0085841


                               ATTORNEY CERTIFICATION

       I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court

for the Southern District of Florida and I am in compliance with the additional qualifications to

practice in this Court set forth in Local Rule 2090-1(A).

                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished via

Notice of Electronic Filing by CM/ECF to all parties registered to receive such service in this

case on this the 29th day of August, 2018.

                                               /s/ Patrick Dorsey
                                              Patrick Dorsey




{2244/000/00413953}
Case 18-17840-EPK   Doc 70   Filed 08/29/18   Page 7 of 23




           EXHIBIT A
Case 18-17840-EPK   Doc 70   Filed 08/29/18   Page 8 of 23
Case 18-17840-EPK   Doc 70   Filed 08/29/18   Page 9 of 23
Case 18-17840-EPK   Doc 70   Filed 08/29/18   Page 10 of 23




           EXHIBIT B
Case 18-17840-EPK   Doc 70   Filed 08/29/18   Page 11 of 23
Case 18-17840-EPK   Doc 70   Filed 08/29/18   Page 12 of 23
Case 18-17840-EPK   Doc 70   Filed 08/29/18   Page 13 of 23
Case 18-17840-EPK   Doc 70   Filed 08/29/18   Page 14 of 23
Case 18-17840-EPK   Doc 70   Filed 08/29/18   Page 15 of 23




           EXHIBIT C
Case 18-17840-EPK   Doc 70   Filed 08/29/18   Page 16 of 23
Case 18-17840-EPK   Doc 70   Filed 08/29/18   Page 17 of 23
Case 18-17840-EPK   Doc 70   Filed 08/29/18   Page 18 of 23
Case 18-17840-EPK   Doc 70   Filed 08/29/18   Page 19 of 23
Case 18-17840-EPK   Doc 70   Filed 08/29/18   Page 20 of 23
Case 18-17840-EPK   Doc 70   Filed 08/29/18   Page 21 of 23
Case 18-17840-EPK   Doc 70   Filed 08/29/18   Page 22 of 23
Case 18-17840-EPK   Doc 70   Filed 08/29/18   Page 23 of 23
